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IN THE- UNITED STATES DISTRICT COURT 054[/0
FOR THE VVESTERN I)ISTRICT OF TENNESSEE
AT JACKSON

THOMAS K. NUNLEY and
JOHNNY NUNLEY,

Plain tiffs,

ease No. 1:05_;?¢£»'-1014
Judge Todd/ udge Anderson
JURY DE AND

STEVE FLORENCE, individually and in

his official capacity; TENNESSEE
DEPARTMENT OF SAFETY; .]OHN DOES 1
through 25, individually and in their

official capacity; XYZ ENTITY, 1 through 25,

\./\.H\_/\./\_/\F/\_.r'\_¢\.,/\.,HWH../\_,/\._/

Defendants.

 

MOTION FOR LEAV 0 WITHDRAW

 

COMES NOW Assistant Attorne eneral Sarah McBn`de and requests leave to
withdraw from this cause of acti as attorney of record for Defendants Steve Florence and the
Tennessee Departrnent o afety/State of Tennessee. As grounds therefore, General McBride
avers that she is l ving employment with the Oft`ice of the Tennessee Attorney General and

Reporter. sistant Attorney General Michael Leftwich, who is currently an attorney of record in

 

NIOTION GRANTED

me W

This document entered on the docket sg): ti Compllance p- Jame$ D` Todd
with nine 53 and.'or_?Q ial FF\CP °“ U s_ oismci wage

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Respectfully submitted,

PAUL G. SUMMERS
A.ttorney General and Reporter

SARAH C. MCBRIDE, BPR#21418
Assistant Attorney General

Civil Rights and Claims Division
P.O. Box 20207

Nashville, Tennessee 37202-0207
(615)532-2500

CERTIFICATE OF SERVICE

l hereby certify that a true and exact copy of the foregoing document has een
forwarded via U. S Mail, first class postage prepaid on this §§ g`ia` day of 2005 to

Ronald D. Michael and Daniel K. Tucher, 1700 North Second Street Boonevill , MS 38829.

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SARAH C. MCBRIDE
Assistant Attorney General

 

UNITSMTSED`E DISTRICT C URT WESTER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-010]4 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

